 

Case 3:15-cV-01687-C Document 7 Filed 10/21/15 Page 1 of 2 Page|D 61

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
MARIA GROZCO AND §
JOSE OROZCO, §
' §
Plaintiffs, §
§ ClVIL ACTION NO. 3:15~CV-01687-C
v. §
§ JURY DEMAND
STATE FARM FIRE AND §
CASUALTY COMPANY, §
§
Defendant. §

AGREED ORDER OF DISMISSAL WITH PREJUDICE

The Court, after having considered Plaintiffs Maria Orozco and Jose Orozco and

Defendant State Fann Fire and Casualty Company’s Joint Stipulation of Disrnissal with' _
. Prejudice, is of the opinion that it should be granted.

IT IS THEREFORE ORDERED that Plaixitiffs" claims against Defendant are hereby
dismissed with prejudice.

IT IS FURTHER ORDERED that the parties shall bear their own costs.

IT IS SO ORDERED. 4

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AGREED AS TO FORM AND CONTENT:

Mar§s'z:. Martinez § §§ `

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